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Nikiya Harris
CAUSE NO. Dc~17“10938
WIND RlvER MANAGEMENT coRP § n\i THE DISTRICT coURT
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v. § JUDICIAL instruct
` §
FEDERAL iNsURANcE coMPANY §
. & WALTER HAEssle § DALLAs couNrY, TEXAS

PLAINTIFF’S ORIGINAL PE'I`ITION
TO THE HONORABLE JUDGE OF SAID COURT:
Plaintiff WIND RIVER MANAGEl\/IENT CORP., files this Original Petition against
FEDERAL INSURANCE COMPANY (the “INSURANCE DEFENDANT”), and 'WALTER
HAESSIG (“ADJUSTER DEFENDANT”) and in support thereof, vvould show as follows:

I.
DISCOVERY CONTROL PLAN LEVEL

Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas Rules
of Civil Procedure. This case involves complex issues and Will require extensive discovery. Therefore,
Plaintiffvvill ask the Court to order that discovery be conducted in accordance With a discovery control

plan tailored to the particular circumstances of this suit.

II.
PARTIES AND SERVICE

Plaintiff resides in Dallas County, Texas.

Defendant is in the business of insurance in the State of Texas. The insurance business
done by INSURANCE DEFENDANT in Texas includes, but is not limited to, the following:

o The making and issuing of contracts of insurance With the Plaintift`;

v The taking or receiving of application for insurance, including the Plaintiff’s
application for insurance;

 

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¢ The receiving or collection of premiums, commissions, membership fees,
assessments, dues or other consideration for any insurance or any part thereof,
including any such consideration or payments from the Plaintiff; and

v The issuance or delivery of contracts of insurance to residents of this state or a
person authorized to do business in this state, including the Plaintiff.

This defendant may be served With personal prccess, by its registered agent, C._T.

 

Corporation Systern, 1999 Bryan Street, Dallas, Texas 75201, or Wherever else it may be found.

 

ADJUSTER DEFENDANT is a resident and citizen of TeXas, He is engaged in the business

 

of insurance due to his role as an insurance adjuster on this claim. He may be served With personal
process by serving him at 2001 Bryan Street, Dallas, Texas 75201, or Wherever else it may be found.

III.
JURIS])ICTION AND VENUE

Venue is appropriate in Dallas County, Texas because all or part of the conduct giving rise
to the causes of action vvere committed in Dallas County, Texas and the Plaintiff and property
Which is the Subj ect of this suit are located in Dallas County, Texas.

Accordingly, venue is proper pursuant to Texas Civil Practice & Rernedies Code §15.002.

IV'
FACTS

Plaintiff is the owner of a Texas Comniercial lnsurance Policy (hereinafter referred to
as "the Policy"), Which Was issued by INSURANCE DEFENDANT.

Plaintiff owns the insured property, Which is specifically located at 4301 Peppertree Lane,
Dallas, TeXas 75211 (hereinafter referred to as "the Property").

TNSURANCE DEFENDANT sold the Policy insuring the Property to Plaintiff.

During the terms of said Policy, Plaintiff sustained covered losses in the form of Wind

and/or hail damage and damages resulting therefrom, and Plaintiff timely reported same

 

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pursuant to the terms of the Policy. Plaintiff asked that INSURANCE DEFENDANT cover the
cost of repairs to the Property pursuant to the Policy. INSURANCE DEFENDANT failed to
conduct a full, fair and adequate investigation of Plaintiffs covered damages

As detailed in the paragraphs below, INSURANCE DEFENDANT Wrongfully denied
Plaintiff’s claim for repairs to the Property, even though the Policy provided coverage for
losses such as those suffered by Plaintiff. Furthermore, INSURANCE DEFENDANT failed
to pay Plaintiff’s claim by not providing full coverage for the damages sustained by Plaintiff.

lNSURANCE DEFENDANT assigned the claim to ADJUSTER DEFENDANT, who was
charged with the duty of doing a reasonable investigation before denying or offering a compromise
on a claim. However, ADJUSTER DEFENDANT did not follow through on his duties. After the
claim was reported, ADJUSTER DEFENDANT began to look into the claim details. He quickly
noted that there was wind damage, but because he wrongfully believed the claim was reported as
solely a hail claim, he refused to investigate the wind damage that Was abundant and evident
When pressed on the issue, he then began to question when the wind actually occurred Despite
him having the duty to investigate when the wind event occurred, and despite being presented with
evidence that it happened within days of the hail event (if not on the same day), he still refused to
fully adjust the wind damage He was thereafter presented with evidence of when the wind event
occurred ADJUSTER DEFENDANT still refused to adjust the loss under the loss with Plaintiff
and instead indicated that his decision remained unchanged This Was after having all of the
information he needed to promptly and fairly effectuate an equitable settlement He also would
not give a basis in the policy as to why these damages were not being paid for and instead being

implicitly denied.

 

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Simply put, even though INSURANCE DEFENDANT’s liability under the policy was
reasonably clear, ADJUSTER DEFENDANT refused to effectuate a prompt, fair, and equitable
settlement with the Plaintiff ADJUSTER DEFENDANT also failed to provide a reasonable
explanation under the terms of the policy as to why the wind damages and hail damages were not
being paid for.

To| date, INSURANCE DEFENDANT continues to delay in the payment for the damages
to the Property.

lNSURANCE DEFENDANT failed to perform its contractual duty to adequately
compensate Plaintiff under the terms of their Policy. Specifically, INSURANCE
DEFENDANT refused to pay the full proceeds of the Pclicy after conducting an outcome-
oriented investigation, although due demand was made for proceeds to be paid in an amount
sufficient to cover the damaged property, and all conditions precedent to recovery under the Pclicy
have been carried cut and accomplished by Plaintiff INSURANCE DEFENDANT’S conduct
constitutes a breach cf the insurance contract between it and Plaintiff

Pleading further, lNSURANCE DEFENDANT misrepresented to Plaintiff that the
damage to the Property was not covered under the Policy, even though the damage was caused
by al covered occurrence lNSURANCE DEFENDANT’S conduct constitutes a violation of
the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(l).

Both Defendants failed to make an attempt to settle Plaintiff’ s claim in a fair manner,
although aware cf the liability to Plaintiff under the Policy. This conduct constitutes a
violation of the Texas lnsurance Code, Unfair Settlement Practices. TEX. lNS. CODE

§541.060(3)(2)(A).

 

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Both Defendants failed to explain to Plaintiff any valid reason for its coverage denial and offer
of an inadequate settlement Specifically, they failed to offer Plaintiff full compensation, without
any valid explanation why full payment was not being made. Furthermore, the DEFENDANTS did
not communicate that any future settlements or payments would be forthcominth pay for the entire
loss covered under the Policy, nor did they provide any explanation for the failure to adequately settle
Plaintiff’s claim. This conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX. INS. CODE §541.060(a)(3).

lNSURANCE DEFENDANT failed to meet its obligations under the Texas lnsurance Code
regarding timely acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff s
claim, and requesting all information reasonably necessary to investigate Plaintiffs claim within
the statutorily mandated time of receiving notice of Plaintiff’s claim. Its conduct constitutes
a violation of the Texas lnsurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.

Further, INSURANCE DEFENDANT failed to accept or deny Plaintiff’s full and
entire claim within the statutorily mandated time of receiving all necessary information Its
conduct constitutes a violation of the Texas lnsurancc Code, frompt Payment of Claims.
TEX. lNS, CODE §542.056.

INSURANCE DEFENDANT failed to meet its obligations under the Texas lnsurance Code
regarding payment of claims without delay. Specifically, it has delayed full payment of
Plaintiffs claim and, to date, Plaintiff has not received full payment for the claim. Its conduct
constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. lNS.
CODE §542.058.

From and after the time Plaintiff’ s claim was presented to lNSURANCE

DEFENDANT, its liability to pay the full claim in accordance with the terms of the Policy was

 

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reasonably clear. However, it has refused to pay Plaintiff in full, despite there being no basis
whatsoever upon which a reasonable insurance company would have relied to deny the full
payment lNSURANCE DEFENDANT’ S conduct constitutes a breach of the common law duty
of good faith and fair dealing

Additionally, INSURANCE DEFENDANT knowingly or recklessly made false
representations, as described above, as to material facts and/or knowingly concealed all or part of
material information from Plaintiff.

Because of INSURANCE DEFENDANT’S wrongful acts and omissions, Plaintiff
Was forced to retain the professional services of the attorney and law firm who is
representing Plaintiff with respect to these causes cf action.

V.
CAUSES OF ACTION

A. BREACH OF CONTRACT AGAINST INSURANCE DEFENDANT

lNSURANCE DEFENDANT’S conduct constitutes a breach of the insurance contract
between it and Plaintiff Defendant’s failure and/or refusal, as described above, to pay Plaintiff
adequate compensation as it is obligated to do under the terms of the Policy in question, and
under the laws of the State of Texas, constitutes a breach of the insurance contract with
Plaintiff
B. NONCOMPLIANCE WITH TEXAS INSURANCE CODE:

1. UNFAIR SETTLEMENT PRACTICES AGAINST BOTH DEFENDANTS

Both Defendants’ conduct constitutes multiple Violations of the Texas lnsurance
Code, Unfair Settlement Practices: TX. INS. CODE §54l .060(a). All violations under this article are

made actionable by TEX. lNS. C()DE §541.151.

 

 

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lNSUl{ANCE DEFENDANT’S unfair settlement practice, as described above, of
misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of insurance
TEX. INS. CODE §541.060(a)(l).

Both Defendants’ unfair settlement practice, as described above, of failing to attempt
in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though its
liability under the Policy was reasonably clear, constitutes an unfair method of competition and
an unfair and deceptive act or practice in the business of insurance TEX. INS. CODE
§541.060(a)(2)(A).

Both Defendants failed to explain to Plaintiff any valid reason for its coverage denial and offer
of an inadequate settlement Specifically, they failed to offer Plaintiff full compensation, without
any valid explanation why full payment was not being made. Furthermore, the DEFENDANTS did
not communicate that any future settlements cr payments would be forthcoming to pay for the entire
loss covered under the Policy, nor did they provide any explanation for the failure to adequately settle
Plaintiffs claim This conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX. INS. CODE §541.060(a)(3).

Both Defendants’ unfair settlement practice, as described above, of refusing to pay
Plaintiff’s claim without conducting a reasonable investigation, constitutes an unfair method
of competition and an unfair and deceptive act or practice in the business of insurance TEX. INS.
CODE §541.060(a)(7).

2. THE PROMPT PAYMENT OF CLAIMS AGAINST INSURANCE

DEFENDANT

 

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INSURANCE DEFENDANT’S conduct constitutes multiple violations of the Texas
lnsurance Code, Prompt Payment of Claims. All violations made under this article are made
actionable by TEX. lNS. CODE §542.060.

INSURANCE DEFENDANT’S failure to acknowledge receipt of Plaintiffs claim,
commence investigation of the claim, and request from Plaintiff all items, statements, and forms
that it reasonably believed would be required within the applicable time constraints, as
described above, constitutes a non~prompt payment of claims and a violation of TEX. lNS. CODE
§542.055.

lNSURANCE DEFENDANT’S failure to notify Plaintiff in writing of its acceptance or
rejection of the claim within the applicable time constraints constitutes a non-prompt payment
of the claim. TEX. INS. CODE §542.056.

INSURANCE DEFENDANT’S delay of the payment of Plaintiff’s claim following its
receipt of all items, statements, and forms reasonably requested and required, longer than the
amount of time provided for, as described above, constitutes a non~prompt payment of the claim.
TEX. INS. CODE §542.058.

C. BREACH OF THE DUTY OF GOOD FAITH AND FAIR I)EALING

INSURANCE DEFENDANT’S conduct constitutes a breach of the common law duty of
good faith and fair dealing owed to insureds pursuant to insurance contracts

INSURANCE DEFENDANT’S failure, as described above, to adequately and reasonably
investigate and evaluate Plaintiff’ s claim, although, at that time, it knew or should have known by
the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

the duty of good faith and fair dealing

 

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VI.
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Each of the acts described above, together and singularly, was done "knowingly" by THE
DEFENDANTS as that term is used in the Texas lnsurance Code, and was a producing cause
of Plaintiff’s damages described herein.

VII.
DAMAGES

Plaintiff would show that all of the aforementioned acts, taken together or singularly,
constitute the proximate and producing causes of the damages sustained by Plaintiff

As previously mentioned, the damages caused by the covered losses have not been
properly addressed or repaired in the months since the loss occurred, causing further damage to the
Property, and causing undue hardship and burden to Plaintiff These damages are a direct result of
DEFENDANTS’ mishandling of Plaintiff’s claim in violation of the laws set forth above,

For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which
is the amount of the claim, together with attorney's fees.

For noncompliance with the Texas lnsurance Code, Unfair Settlement Practices, Plaintiff
is entitled to actual damages, which include the loss of the benefits that should have been paid
pursuant to the policy, court costs, and attorney's fees. For knowing conduct of the acts described .
above, Plaintiff asks for three times the actual damages TEX. INS. CODE §54l.152.

For noncompliance with the Texas lnsurance Code, Prompt Payment of Claims,
Plaintiff is entitled to the amount of Plaintiff s claim, as well as eighteen (18) percent interest per
annum on the amount of such claim as damages, together with attorney's fees. TEX, lNS. CODE

'§542,060,

 

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For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to
compensatory damages, including all forms of loss resulting from the insurer's breach of duty,
such as additional costs, losses due to nonpayment of the amount the insurer owed, and
exemplary damages

For the prosecution and collection of this claim, Plaintiff has been compelled to
engage the services of the attorney whose name is subscribed to this pleading Therefore,
Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiffs
attorney in the preparation and trial of this action, including any appeals to the Court of Appeals
and/or the Supreme Court of Texas.

VIII.

In addition, as to any exelusion, condition, or defense pled by DEFENDANTS, Plaintiff
would show that:

The clear and unambiguous language of the policy provides coverage for damage caused
by losses made the basis of Plaintiff’s claim, including the cost of access to fix the damages ;

In the alternative, any other construction of the language of the policy is void as against
public policy;

Any other construction and its use by the DEFENDANTS violates the Texas lnsurance
Code section 541 et. seq. and is void as against public policy;

Any other construction is otherwise void as against public policy, illegal, and violates state
law and administrative rule and regulation

In the alternative, should the Court find any ambiguity in the policy, the rules of

construction of such policies mandate the construction and interpretation urged by Plaintiff;

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ln the alternative, INSURANCE DEFENDANT is judicially, administratively, or equitably
estopped from denying Plaintiff’s construction of the policy coverage at issue;

In the alternative, to the extent that the wording of such policy does not reflect the true
intent of all parties thereto, Plaintiff pleads the doctrine of mutual mistake requiring information

IX.
REOUEST FOR DISCLOSURES

Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that INSURANCE
DEFENDANT provide the information required in a Request for Disclosure.

X.
FIRST REOUEST FOR PRODUCTI()N TO INSURANCE DEFENDANT

l) Produce the INSURANCE DEFENDANT’s complete claim file (excluding all
privileged portions) in your possession for Plaintiff s property relating to or arising out
of any damages caused by the loss for which INSURANCE DEFENDANT opened a
claim under the Policy, Please produce a privilege lo g for any portions withheld on a
claim of privilege.`

2) Produce all non-privileged emails and other forms of communication between
lNSURANCE DEFENDANT, its agents, adjusters, employees, or representatives and
the adjuster, and/or their agents, adjusters, representatives or employees relating to,
mentioning, concerning or evidencing the Plaintiffs property which is the subject of
this suit.

3) Produce any complete claim file (excluding all privileged portions) in the
INSURANCE DEFENDANT’s possession for the Plaintiff/insured and/or for the
Plaintiffs property as listed in the Plaintiff’s Original Petition, relating to or arising
out of any claim for damages which INSURANCE DEFENDANT opened a claim
under any policy. Please produce a privilege log for any portions withheld on a claim
of privilege

XI.
As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs counsel states that
the damages sought are in an amount within the jurisdictional limits of this Court. As required by

Rule 47(0), Texas Rules of Civil Procedure, Plaintiff s counsel states that Plaintiff seeks monetary

relief, the maximum of which is over $1,000,0()0. The amount of monetary relief actually awarded,

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however, will ultimately be determined by a jury. Plaintiff also seeks pre-judgment and post-

judgment interest at the highest legal rate.

XII.
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WHEREFORE, PREMISES CONSlDERED, Plaintiff requests that DEFENDANTS be cited
to appear and answer herein; that, on final hearing, Plaintiff have judgment against DEFENDANTS
for an amount, deemed to be just and fair by the jury, which will be a sum within the jurisdictional
limits of this Court; for costs of suit; for interest on the judgment; for pre-judgment interest; and, for
such other and further relief, in law or in equity, either general or special, including the non-
monetary relief of declaratory judgment against the DEFENDANTS, to which Plaintiff may be

justly entitled

Respectfully submitted,

KETTERMAN ROWLAND & WESTLUND
16500 San Pedro, Suite 302

San Antonio, Texas 78232

Telephone: (210) 490-7402

Facsimile: (210) 490-8372

BY.' _/s/Kevz'n S. Baker
Kevin S. Baker
State Bar No. 007 97799
kevin@krwlawyers.com
Brennan Kucera
State Bar No. 24076491

ATTORNEYS FOR PLAINTIFF

PLAINTIFF REQUESTS A TRIAL BY JURY

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ClvlL CASE INFoRMATloN SHEI~;T
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|\cnlth misc or when a post-judgment petition t`cr modification or motion l`or enforcement is llled tn a family law case "l`he information should be the best available nt

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Pcrson or entity completing sheet lsi

 

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Brennan l\/l. l\'ucet'a

En)nil:

rutli@krwlnwycrs.eom

PlnintifttS)/l’etitloner(s):

Wind Ri\'cr l\/Iztnagement

Ccrp

 

Address:
l(i500 San Pedro A\'c, i¢302

Telephone:

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lAttorney for Plalntlli*`/Petitioncr
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4. lndit:nte damages sought (/to nor select ifir is ufami/y law case):

 

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O\'cr if l()O, 000 l>ut not more than $200,000

Ovcr $200,000 but not more than $1,000,000

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